76 F.3d 375
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Vester Terry SNEEDEN, Petitioner-Appellant,v.STATE of North Carolina;  J.B. French, Warden, Respondents-Appellees.
    No. 95-7388.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 16, 1996.Decided Jan. 25, 1996.
    
      Vester Terry Sneeden, Appellant Pro Se.  Clarence Joe DelForge, III, OFFICE OF THE ATTORNEY GENERAL OF NORTH CAROLINA, Raleigh, North Carolina, for Appellees.
      Before MICHAEL and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we deny a certificate of probable cause to appeal, deny the motion to appoint counsel, and dismiss the appeal on the reasoning of the district court.   Sneeden v. North Carolina, No. CA-94-716-5-BR (E.D.N.C. Aug. 7, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    